
695 S.E.2d 753 (2010)
BOSEMAN
v.
JARRELL.
No. 416PA08-2.
Supreme Court of North Carolina.
March 30, 2010.
John M. Martin, Winterville, for Melissa Ann Jarrell.
James W. Lea, III, Wilmington, for Julia Catherine Boseman.
Mabel Y. Bullock, Special Deputy Attorney General, for NCDHHS.
Jill S. Jackson, Raleigh, for Amicus.
Nathalie F.P. Gilfoyle, for American Psychological Asso.
Cathy C. Hunt, Raleigh, for Evan B. Donaldson Adoption Inst., et al.
Kenneth Broun, Chapel Hill, for Law Professors.
Ellen W. Gerber, for NC Asso. of Women Attorneys.
Bradley R. Kutrow, Charlotte, Monica E. Webb, Raleigh, Carmine D. Boccuzzi, New York City, for NC Chapter of American Academy of Pediatrics.
Jonathan D. Sasser, Raleigh, for American Civil Liberties Union, et al.
The following order has been entered on the motion filed on the 29th of March 2010 by American Civil Liberties, et al for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference this the 30th of March 2010."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
